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12
                             UNITED STATES DISTRICT COURT

13                         CENTRAL DISTRICT OF CALIFORNIA
14

15
      JAMES SHAYLER, an individual,                   Case No.: 2:20-cv-09172-DMG-GJS
16

17                   Plaintiff,                       Hon. Dolly M. Gee
18
      v.
19                                                    PLAINTIFF’S APPLICATION FOR
      B-K INGLEWOOD PROPERTY, LLC,                    DEFAULT JUDGMENT BY COURT
20
      a California limited liability company;         AGAINST DEFENDANTS B-K
21    CONTINENTAL CURRENCY                            INGLEWOOD PROPERTY, LLC
22    SERVICES, INC., a California                    AND CONTINENTAL CURRENCY
      corporation; and DOES 1-10,                     SERVICES, INC.
23
                     Defendants.                      Date:      July 16, 2021
24
                                                      Time:      9:30 a.m.
25
                                                      Courtroom: 8C
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                       PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY COURT
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1     To Defendants B-K Inglewood Property, LLC, Continental Currency Services, Inc.,
2
      and their attorneys of record: Please take notice that on July 16, 2021, at 9:30 a.m.,
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4     or as soon thereafter as this matter may be heard by this Court located at 350 West
5
      1st Street, Courtroom 8C, Los Angeles, CA, 90012. Plaintiff James Shayler will
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7
      present his application for default judgment against Defendants B-K Inglewood

8     Property, LLC and Continental Currency Services, Inc. The Clerk has previously
9
      entered the default on Defendants B-K Inglewood Property, LLC and Continental
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11    Currency Services, Inc., on May 18, 2021.
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             At the time and place of hearing, plaintiff will present proof of the following
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      matters: (1) Defendants B-K Inglewood Property, LLC and Continental Currency

15    Services, Inc., are not minors or incompetent persons or in military service or
16
      otherwise exempted under the Solider and Sailor’s Civil Relief Act of 1940; (2)
17

18    Defendants have not responded in this action; and (3) Plaintiff is entitled to
19
      judgment against said Defendants on account of the claims pleaded in the
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21
      complaint, to wit: a violation of the Americans with Disabilities Act.

22           The Plaintiff seeks an Order directing the defendants to: provide an
23
      accessible path of travel within the site boundary connecting the designated
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25    disabled parking space to an accessible entrance into the building/business,
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      accessible parking, compliant signage regarding accessible parking, compliant
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      signage regarding accessible paths of travel, and an accessible entrance at the
       _____________________________________________________________________________________________
                       PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY COURT
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1     property located at or about 2401 W Manchester Blvd., Inglewood, CA 90305.
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      This application is based on this notice, the declarations submitted in support of
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4     this motion, and other matters which may be presented at the hearing.
5
             Notice of the original application for default judgment by court was served
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7
      on B-K Inglewood Property, LLC and Continental Currency Services, Inc., on May

8     24, 2021, by first class United States Mail, postage prepaid.
9
       Dated: June 17, 2021              THE LAW OFFICE OF HAKIMI & SHAHRIARI
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11
                                         By: /s/Anoush Hakimi
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                                             Anoush Hakimi, Esq.
13                                           Attorneys for Plaintiff James Shayler
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                       PLAINTIFF’S APPLICATION FOR DEFAULT JUDGMENT BY COURT
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